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                           TINITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF TEXAS
                                SAN ANGELO DIVISION

  UNITED STATES OF AMERICA,
     Plaintiff,

                                                            NO. 6:19-CR-041-04-H

  ALEJANDRO RUBIO (4),
     Defendant.


                  ORDER ACCEPTING REPORT AND RECOMMENDATION
                     OF TIIE UMTED STATES MAGISTRATE JIJDGE
                            CONCERNING PLEA OF GUILTY

         After reviewing all relevant matters of record, including the Notice Regarding Entry

  of a Plea of Guilty, the Consent of the Defendant, and the Report and Recommendation

  Conceming Plea of Guilty of the United States Magistrate Judge, and no objections thereto

  having been filed within fourteen (14) days of service in accordance with 28 U.S.C.

  $ 636OX1), the undersigned District Judge is of the opinion that the Report and

  Recommendation of the Magistrate Judge conceming the Plea of Guilty is correct, and it is

  hereby accepted by the Court. Accordingly, the Court accepts the plea of guilty and

  Defendant is hereby adjudged guilty.

         Sentence will be imposed in accordance with the Court's scheduling order.

         SO ORDERED.

         Dated February Tl,zozo



                                             J       WESLEYHE      RIX
                                                     D STATES DISTRICT JUDGE
